          Case 1:18-cr-00255-PLF Document 133 Filed 04/04/20 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                           :
                                                    :
                 v.                                 : Criminal No. 18-255 (PLF)
                                                    :
 MAJID GHORBANI,                                    :
                                                    :
                           Defendant.               :


                                               ORDER

        Before the Court is the defendant’s Motion for Compassionate Release pursuant to 18

U.S.C. § 3582(c)(1)(A). In light of the joint submission by the parties, it is hereby

        ORDERED that the motion is GRANTED; and it is further

        ORDERED that the Defendant’s previously imposed sentence of 30 months in prison is

reduced to time-served. It is further

        ORDERED that the Defendant be immediately released from custody on his sentence in

this case. It is further

        ORDERED that Defendant’s Supervised Release be transferred to the Central District of

California; the Defendant is directed to contact the Probation Office in the Central District of

California within forty-eight (48) hours of his arrival in the State of California; and it is further

        ORDERED that, as a condition of his supervised release, Defendant will be monitored by

the form of location monitoring technology indicated below for a period of 10 months, as agreed

upon by all Parties and is equivalent to the remainder of his custodial sentence originally imposed

to be served in the Bureau of Prisons. Defendant must follow the rules and regulations of the

location monitoring program.
             Case 1:18-cr-00255-PLF Document 133 Filed 04/04/20 Page 2 of 2



          Location monitoring technology at the discretion of the probation officer, including:

Radio Frequency (RF) Monitoring; GPS Monitoring (including hybrid GPS); or Voice

Recognition. Defendant is restricted to his residence at all times except for medical necessities

and court appearances or other activities specifically approved by the Court or the Probation

Office.

          ORDERED that all other provision of the sentence imposed on January 15, 2020, remain

in effect.

DATE: April 3, 2020


                                                  _________________________
                                                  Paul L. Friedman
                                                  United States District Judge
